 Case 2:21-cr-20264-DPH-KGA ECF No. 9, PageID.18 Filed 04/26/21 Page 1 of 1



                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN

United States of America,

              Plaintiff,
                                             Case No: 21-cr-20264
      v.
                                             Hon. Denise Hood
Ylli Didani

              Defendant.


      NOTICE OF CHANGE OF ASSISTANT U.S. ATTORNEY

To:    Attorney Admission Clerk and All Other Parties

Please take notice of the following change(s) of Assistant U.S. Attorney(s) of
record for the above captioned case:

Add the following AUSA(s):                   Terminate the following AUSA(s):

Name: Timothy McDonald                       Name:
Bar ID: P64562                               Telephone:
Telephone: 313-226-0221
Fax: 313-226-3265
Email: Timothy.McDonald@usdoj.gov


                                             SAIMS S. MOHSIN
                                             Acting United States Attorney

                                             s/Timothy McDonald
                                             Assistant United States Attorney
                                             211 W. Fort Street, Suite 2001
                                             Detroit, MI 48226
                                             Timothy.McDonald@usdoj.gov
                                             (313) 226-0221
                                             P64562
Dated: April 26, 2021
